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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                               GAINESVILLE DIVISION

    TERESA FARLEY,                                           )
                                                             )
                      Plaintiff,                             )     CIVIL ACTION FILE NO.
                                                             )        2:21-cv-00059-RWS
              v.                                             )
                                                             )
    GILMER COUNTY SCHOOLS,                                   )    JURY TRIAL
                                                             )    DEMANDED
                      Defendants.                            )

                                               COMPLAINT

        Plaintiff Teresa Farley (“Plaintiff” or “Farley”) hereby files this complaint

against Gilmer County Schools, d/b/a Gilmer County Charter Schools,

(“Defendant”), pursuant to the anti-retaliation provisions of the False Claims Act,

31 U.S.C. § 3729, et seq. (“FCA”)1 and the Georgia Whistleblower Protection Act,

O.C.G.A. § 45-1-4 (“GWPA”). Plaintiff claims that Defendant terminated her

employment in retaliation for reporting false claims for payment that the Defendants

made to the governments of the United States and State of Georgia, and for refusing

to participate in the fraudulent schemes involving federal and state funds perpetrated

by Defendants.




        1
           Plaintiff only brings an action under the anti-retaliation provisions of the FCA and does not pursue this
matter as a qui tam action.
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                          JURISDICTION AND VENUE

                                            1.

      This Court has subject matter jurisdiction over Plaintiff’s FCA claims

pursuant to 31 U.S.C. § 3732(a) and supplemental jurisdiction over her state law

claims pursuant to 28 U.S.C. § 1267.

                                            2.

      This Court has personal jurisdiction over Defendant.

                                            3.

      Venue is proper in this district under 28 U.S.C. §§ 1391 (b) and 1391 (c), and

under O.C.G.A. § 49-4-168.6. Defendant resides in this district, and all of the acts

giving rise to Plaintiff’s claims occurred in the district.

                                            4.

      Plaintiff is entitled to and demands a trial by jury.

                                       PARTIES

                                            5.

      Plaintiff is a resident of Georgia and a United States citizen. She was

employed by Defendant GCS in a number of school nutrition roles beginning in 2013

and was School Nutrition Manager at Ellijay Primary School (“EPS”, now Clear

Creek Elementary) at the time she was terminated.

                                            6.

      Defendant is a local charter school district established under the Constitution

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of the State of Georgia and pursuant to O.C.G.A. § 20-2-2060, et seq. Defendant

GCS is funded by the State of Georgia and United States Government with monies

administered by the Georgia Department of Education (“GDOE”) and United States

Department of Education (“USDOE”), respectively.

                                         7.

      Defendant resides at 134 Industrial Blvd. Gilmer, GA 30540. Defendant may

be served through its chief executive officer, Superintendent Shanna Downs.

            GOVERNING REGULATIONS AND BACKGROUND

                                         8.

      The majority of the funding for School Nutrition Programs (“SNPs”) in the

State of Georgia is provided by the United States Government.

                                         9.

      The United States Government tasks the United States Department of

Agriculture (“USDA”) with the administration of the funds that it allocates for SNPs.

The USDA accomplishes this through a variety of programs, including the School

Breakfast Program (“SBP”), established in 43 U.S.C. § 1773, and the National

School Lunch Program (“NSLP”), established in 42 U.S.C. § 1751, both of which

subsidize SNPs by reimbursing states for expenses incurred in the provision of

school meals.

                                         10.

      As a condition of receipt of these funds, schools, through a series of legally
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binding agreements, certify their compliance with rules and regulations promulgated

by the GDOE and USDA regarding the use of these funds and administration of

school nutrition programs.

                                         11.

      Among the requirements for both the NSLP and the SBA are that schools

accurately report the number of meals provided and maintain accurate records of the

same. See 7 C.F.R. § 220.7 (e) (reporting and recordkeeping requirements for the

SBA); 7 C.F.R. § 210.15 (reporting and recordkeeping requirements for NSLP).

                                         12.

      At all times relevant to this complaint, Defendant was a participant in both the

SBA and NLSP programs.

                                         13.

      All of the conduct alleged in this Complaint is alleged to have occurred

“knowingly” or with reckless disregard, as those terms are defined in the False

Claims Act, 31 U.S.C. § 3729 and related case law.

                                         14.

      In doing the acts and things described in this complaint, managerial

employees of the Defendant acted within the course and scope of their respective

agencies and/or employment with the Defendant, and each of them, with the

knowledge and consent of the Defendant, and each of them.



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                           STATEMENT OF FACTS

               Plaintiff’s Employment with Gilmer County Schools

                                        15.

      Plaintiff first worked for Defendant part-time as a school nutrition substitute

at Gilmer Middle School, EPS, and Mountain View Elementary schools in 2013.

She was promoted to assistant school nutrition manager at EPS in 2015, and then to

School Nutrition Manager at EPS in 2017.

                                        16.

      Plaintiff’s job duties included, among other things, overseeing all aspects of

food service through EPS’s School Nutrition Program, managing EPS’s kitchen

staff, and ensuring compliance with applicable rules pertaining to food service.

               Plaintiff First Notices Teachers Obtaining Free Meals

                                        17.

      At the beginning of the 2018-2019 school year, Plaintiff noticed that teachers

were taking meals off the breakfast line without charging their accounts as they are

required to do. This behavior had the effect of falsely indicating that students had

taken the meals when they had not, causing the school to submit inflated claims for

reimbursement for the meals it provided.

                                        18.

      Plaintiff complained about this practice to EPS’s principal, Stephanie

Burnette (“Burnette”). Burnette, however, defended the practice, stating that “other
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schools do it all of the time.” Plaintiff then responded that she would get clarification

from Defendant’s School Nutrition director, Linda Waters (“Waters”). Burnette,

however, then instructed her not to do so.

                                           19.

      Plaintiff emailed Waters nonetheless, who confirmed that only students were

supposed to receive free meals through the breakfast program. Plaintiff reported this

information to Burnette.

                                           20.

      In March 2020, Plaintiff took notice that students were coming through the

breakfast serving line asking for meals for their teachers. Plaintiff subsequently

discovered that it had become common practice for teachers to tell students to get

food from the cafeteria for them so that they would not have to pay for it. In

response, Plaintiff instructed her staff to charge each teacher’s account when this

occurred.

                                           21.

      Plaintiff then asked a student the name of the teacher for whom she was

getting food, and then charged that teacher’s account for the item.

   Defendant’s Response to Plaintiff’s Attempt to Rectify Teachers Unlawfully
                             Obtaining Free Meals

                                           22.

      Shortly after, Plaintiff was called into a meeting with Burnette, EPS Assistant


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Principal Jessica Chastain (“Chastain”), and former EPS Secretary Rhonda Brooks

(“Brooks”).

                                         23.

      At this meeting, Burnette expressed her desire that the de facto system

wherein teachers got free meals stay in place. She chastised Plaintiff for charging

the teacher’s account for her meal. Burnette stated that all the other schools in the

county were doing it and that EPS should as well. She also said that as long as the

number of tallies on the sheet indicating how many students had taken a meal was

within a normal range, it didn’t matter if teachers got free meals.

                                         24.

      Burnette and Chastain then said that from then on, they would simply instruct

teachers to tell students to get meals for them without indicating that they were not

for themselves. The two then instructed to allow students to get as many meals as

they pleased and not to question them.

                                         25.

      The following day, Plaintiff was called into another meeting, this time with

Burnette, Chastain, and Linda Waters. Plaintiff reiterated the fact that she would not

be coerced into committing fraud. Waters then told her to allow students as many

meals as they requested and also to begin using USDA-subsidized food on the

teachers’ salad bar, even though this food was only supposed to be served to

students, per USDA regulations.
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                         Plaintiff Complains to the USDA

                                         26.

      In response to these incidents, Plaintiff filed a complaint with the USDA on

March 7, 2020. In it, she detailed her concern about the above incidents and

described the fraudulent behavior.

                                         27.

      On July 20, 2020, Burnette contacted Plaintiff and asked her to drive to the

school for another meeting. There, Waters asked her directly, “Did you or your

husband file a complaint with the USDA?” Out of fear of losing her job, Plaintiff

replied that she had not. Waters retorted, “You had to have done it. It could only

have come from the kitchen.” Burnette seconded this assertion. Waters then stated,

“You are at at-will employee. I could easily fire you if I wanted to.”

                                         28.

      Upon her return to work at the beginning of the 2020 school year, nothing had

changed with regard to the fraudulent practices described above.

                                         29.

      On November 13, 2020, investigators from the GDOE arrived unannounced

to investigate Plaintiff’s March 7 complaint with the USDA. They interviewed

Plaintiff, as well as SN coordinator, Daphne Hice, before leaving.




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         Defendant Terminates Plaintiff in Retaliation for Her Complaint

                                         30.

      Just three days later, Plaintiff was called into a meeting with Burnette, Waters,

and Chastain where she was given a letter of termination from Defendant's

superintendent, Shanna Downs. The letter did not provide Plaintiff with a reason for

termination. She was told only that an administrative decision has been rendered

relieving Plaintiff of her employment, effective immediately. Three days later,

Plaintiff received a Separation Notice in the mail stating reason for Plaintiff's

termination was "failure to comply with federal regulations." This notice was signed

by Kim Cagle, GCS’s Assistant Superintendent.            No other individuals were

terminated from employment, including those responsible for the fraudulent activity.


                                         31.

      Plaintiff has been unable to secure employment since and is unlikely to find

comparable employment in the area of school nutrition due to the fabricated,

pretextual reason Defendant supplied for her termination.

                             COUNT I
                RETALITORY DISCHARGE IN VIOLATION
                     OF THE FALSE CLAIMS ACT

                                         32.

      Plaintiff incorporates by reference paragraphs 1-31 as if fully set forth herein.




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                                         33.

       Defendant is properly considered an employer under the FCA.

                                         34.

       Defendant engaged in activity prohibited by the FCA under 31 U.S.C § 3729

(a) (1).

                                         35.

       Defendant knowingly caused to be made false claims for payment to the

United States Government in violation of 31 U.S.C. § 3729 (a) (1).


                                         36.

       By knowingly encouraging Plaintiff to disregard federal law as alleged herein,

Defendant, by and through its managerial employees, conspired to cause to be

presented to the United States Government false claims for payment. See 31 U.S.C.

§ 3729 (a) (1) (A)- (C).

                                         37.

       Defendant, by and through its managerial employees, terminated Plaintiff for

her refusal to participate in its scheme to defraud the United States Government in

violation of 31 U.S.C. § 3730 (h) (1).

                                         38.

       Defendant also engaged in prohibited retaliatory action when it discharged

Plaintiff for having complained of the fraudulent actions that it conspired to commit

to the United States Government. See 31 U.S.C. § 3730 (h) (1).
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                                           39.

      Having been subject to unlawful retaliation as described above, Plaintiff is

entitled to all necessary relief to make her whole, including reasonable attorney’s

fees and costs. See 31 U.S.C. § 3730 (h) (2).

                       COUNT II
    RETALITORY DISCHARGE IN VIOLATION OF THE GEORGIA
            WHISTLEBLOWER PROTECTION ACT

                                           40.

      Plaintiff incorporates by reference paragraphs 1-31 as if fully set forth herein.

                                           41.

      Defendant is a public employer as defined by the Georgia Whistleblower

Protection Act (“GWPA”). See O.C.G.A. § 45-1-4.

                                           42.

      The GWPA prohibits a public employee from retaliating against an employee

for “disclosing a violation of or noncompliance with a law, rule, or regulation to

either a supervisor or a government agency, unless the disclosure was made with

knowledge that the disclosure was false or with reckless disregard for its truth or

falsity.” See O.C.G.A. § 45-1-4 (d) (2).

                                           43.

      Defendant violated the GWPA by terminating Plaintiff’s employment after it

discovered that she had reported to the USDA repeated and various violations of

both federal and state law by Defendant, by and through its managerial employees.

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                                          44.

      The Georgia Whistleblower Act further prohibits public employers from

retaliating against an employee for “for objecting to, or refusing to participate in,

any activity, policy, or practice of the public employer that the public employee has

reasonable cause to believe is in violation of or noncompliance with a law, rule, or

regulation.” O.C.G.A. § 45-1-4 (d) (3).

                                          45.

      Plaintiff reasonably believed, and was correct in believing, that the activities

and practices that Defendant, by and through its managerial employees, encouraged

her to participate in, were in violation of the law.

                                          46.

      Defendant thus further violated the GWPA by terminating Plaintiff for her

objection to and refusal to participate in Defendant’s policies and practices of

defrauding the United States Government in violation of the FCA as alleged in

paragraph 35.

                                          47.

      The GWPA authorizes an employee who has been the object of retaliation in

violation of said statute to initiate civil action and recoup damages, including

compensatory damages and payment for reasonable attorney’s fees and costs.

O.C.G.A. § 45-1-4 (e)- (f).



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                           PRAYER FOR RELIEF

      WHEREFORE Plaintiff respectfully requests judgment in its favor on each

count in this Complaint and demands:

      (a)   Defendants each be assessed a civil penalty for each act committed

in violation of the False Claims Act;

      (b)   That judgment be awarded for and in favor of Plaintiff Teresa Farley,

and against Defendant Gilmer County Schools, on Count I for all relief allowable

under the False Claims Act, 31 U.S.C. § 3721, et seq.;

      (c)   That judgment be awarded for and in favor of Plaintiff Teresa Farley,

and against Defendant Gilmer County Schools, on Count II for all relief

allowable under the Georgia Whistleblower Act, O.C.G.A. § 45-1-4;

     (d)    Any and all other relief as the Court deems just and proper.

      This 22nd day of March 2021.



                                                   /s/ James M. McCabe
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